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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON


 Hunter Hott
_________________________________         :
                                                 Case No.   3:24-CV-231
                       Plaintiff(s),      :
                                                                  Newman
                                                 District Judge ___________________
                                                                    Silvain, Jr.
                                                 Magistrate Judge _________________
              vs.                         :
                                                 RULE 26(f) REPORT OF PARTIES
Village of Mechanicsburg, et al.
_________________________________         :      (to be filed not later than seven (7)
                                                 days prior to the preliminary
                       Defendant(s).      :      pretrial conference)



       1. Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on ____________________,

and was attended by:


 Bradley M. Gibson
_______________________________,                            Hunter Hott
                                 counsel for plaintiff(s) ___________________________


 David Shaver
_______________________________,                            Village of Mechanicsburg
                                 counsel for plaintiff(s) ___________________________

 Jeffrey Turner                                              Village of Mechanicsburg
_______________________________, counsel for plaintiff(s) ___________________________

Katherine Barbiere                                             Robert McConnell
_______________________________, counsel for defendant(s) __________________________


_______________________________, counsel for defendant(s) __________________________


_______________________________, counsel for defendant(s) __________________________


_______________________________, counsel for defendant(s) __________________________
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    2. The parties:

    ____ have provided the pre-discovery disclosures required by Fed. R. Civ. P. 26(a)(1),
         including a medical package (if applicable).
      X
    ____                                         November 6, 2024
            will exchange such disclosures by _____________________________________.

    ____ are exempt from disclosure under Fed. R. Civ. P. 26(a)(1)(E).


    3. The parties:

    ____    unanimously consent to the jurisdiction of the United States Magistrate Judge
            pursuant to 28 U.S.C. § 636(c).
     X
    ____    do not unanimously consent to the jurisdiction of the United States Magistrate
            Judge pursuant to 28 U.S.C. § 636 (c).

    ____    unanimously give contingent consent to the jurisdiction of the United States
            Magistrate Judge pursuant to 28 U.S.C. § 636(c), for trial purposes only, in the
            event that the assigned District Judge is unavailable on the date set for trial (e.g.,
            because of other trial settings, civil or criminal).


    4.      Recommended cut-off date for filing of motions directed to the pleadings:
                January 29, 2025
            ________________________________________________________________


    5.      Recommended cut-off date for filing any motion to amend the pleadings and/or to
                                      January 15, 2025
            add additional parties: ______________________________________________


    6.      Recommended discovery plan:

            a. Describe the subjects on which discovery is to be sought and the nature, extent
            and scope of discovery that each party needs to: (1) make a settlement evaluation,
            (2) prepare for case dispositive motions and (3) prepare for trial:

            ________________________________________________________________
           Defendants' policies, practices, and procedures related to traffic stops and use of force,
           McConnell's personnel files, applications for employment, and Defendants' internal
           correspondence   regarding McConnell and the incident described in the complaint.
            ________________________________________________________________
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           Defendants anticipate needing to conduct discovery regarding Plaintiff's claims
           and alleged damages, as well as regarding any expert testimony that Plaintiff
           intends to rely on.
          ________________________________________________________________


          ________________________________________________________________


          b. What changes should be made, if any, in the limitations on discovery imposed
          under the Federal Rules of Civil Procedure or the local rules of this Court,
          including the limitations to 40 interrogatories/requests for admissions and the
          limitation of 10 depositions, each lasting no more than one day consisting of
          seven (7) hours?

          ________________________________________________________________


             None
          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          c. Additional recommended limitations on discovery:

               None
          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          d. Recommended date for disclosure of lay witnesses.
               February 19, 2025
          ________________________________________________________________


          e. Describe the areas in which expert testimony is expected and indicate whether
          each expert has been or will be specifically retained within the meaning of Fed. R.
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          Civ. P. 26(a)(2).
             Officer training, traffic stops, use of force
          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          f. Recommended date for making primary expert designations:
               May 7, 2025
          ________________________________________________________________


          g. Recommended date for making rebuttal expert designations:
               July 2, 2025
          ________________________________________________________________


          h. The parties have electronically stored information in the following formats:

                  word, pdf, emails, body camera footage
          ______________________________________________________________

          ______________________________________________________________

          The case presents the following issues relating to disclosure or discovery of
          electronically stored information, including the form or forms in which it should
          be produced:
                   Protective order may be necessary
          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________
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          i. The case presents the following issues relating to claims of privilege or of
          protection as trial preparation materials:
                      None anticipated
          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________


          Have the parties agreed on a procedure to assert such claims AFTER production?

                                   X No
                                ______

                                ______ Yes

                                ______ Yes, and the parties ask that the Court include their
                                       agreement in an order.


                                                     September 10, 2025
          j. Recommended discovery cut-off date: _______________________________


    6.                                              October 15, 2025
          Recommended dispositive motion date: ________________________________


    7.    Recommended date for status conference (if any): ________________________


    8.    Suggestions as to type and timing of efforts at Alternative Dispute Resolution:
                  settlement conference with magistrate judge
          ________________________________________________________________


          ________________________________________________________________


          ________________________________________________________________

                                                                 November 12, 2025
    9.    Recommended date for a final pretrial conference: _______________________
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       10.
                                                          Yes
               Has a settlement demand been made? __________ A response? ____________
                                                                                         Yes

                                                                 any
               Date by which a settlement demand can be made: _________________________
                                                             any
               Date by which a response can be made: _________________________________


       11.     Other matters pertinent to scheduling or management of this litigation:

               ________________________________________________________________

                      N/A
               ________________________________________________________________


               ________________________________________________________________


               ________________________________________________________________


Signatures:

Attorney for Plaintiff(s):                          Attorney for Defendant(s)

 Bradley M. Gibson                                   David Shaver
____________________________________                __________________________________
Ohio Bar # 0087109                                  Ohio Bar # 0085101
Trial Attorney for Hunter Hott                      Trial Attorney for Village of Mechanicsburg


____________________________________                 Jeffrey Turner
                                                    __________________________________
Ohio Bar #                                          Ohio Bar # 0063154
Trial Attorney for                                  Trial Attorney for Village of Mechanicsburg

                                                        Katherine Barbiere
____________________________________                __________________________________
Ohio Bar #                                          Ohio Bar # 0089501
Trial Attorney for                                  Trial Attorney for Robert McConnell


____________________________________                __________________________________
Ohio Bar #                                          Ohio Bar #
Trial Attorney for                                  Trial Attorney for
